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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 GREENWOOD RACING INC., et al.,

                      Plaintiffs,
                                                         CIVIL ACTION
           v.
                                                         NO. 21-1682
 AMERICAN GUARANTEE & LIABILITY
 INSURANCE CO. and STEADFAST
 INSURANCE CO.,

                      Defendants.


                                       ORDER

      AND NOW, this 20th day of October 2021, upon consideration of Plaintiffs’

Motion to Remand (ECF No. 2), Defendants’ Response (ECF No. 18), Plaintiffs’ Reply

(ECF No. 19) and the Parties’ supplemental briefing (ECF Nos. 24 and 25), it is hereby

ORDERED that the Motion is DENIED for the reasons set forth in the accompanying

memorandum.



                                                     BY THE COURT:



                                                     /s/ Gerald J. Pappert
                                                     GERALD J. PAPPERT, J.
